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3:38 pm, Jul 02 2020
AT BALTIMORE
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CLERK, U.S. DISTRICRT COURT
DISTRICT OF MARYLAND
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BY ______________Deputy
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    LQYHVWLJDWLYHWHFKQLTXHVLQWHUYLHZLQJLQIRUPDQWVFRRSHUDWLQJZLWQHVVHVYLFWLPVDQG

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       LVVXHU RI UHIXQG RU UHFLSLHQW RU LVVXHU RI D FKHFN RU ZLUH WUDQVIHU IURP DQ DFFRXQW ZKRVH

       EDODQFHKDVEHHQLQIODWHGGXHWRDIUDXGXOHQWUHIXQG)XUWKHU,NQRZWKDWFULPLQDOVFDUU\RXW

       ILQDQFLDOIUDXGZLWKFRFRQVSLUDWRUVLQRUGHUWRPRYHPRQH\LQDQGRXWRIDFFRXQWVZLWKWKH

       KRSHRIUHFLSURFLW\DQGEHFDXVHLWZRXOGEHLPSRVVLEOHIRUWKHPWRWDNHDGYDQWDJHRIORRSKROHV

       LQFUHGLWFDUGSURFHVVLQJSDUWLHVE\WKHPVHOYHV

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 7KLVFULPLQDODFWLYLW\ZDV FDUULHGRXWLQWZRZD\V E\WKH6XVSHFW0HUFKDQWV

 7KHILUVWZD\ZDVXVLQJD SRLQWRIVDOH 326 GHYLFHV RSHUDWLQJRQ)LVHUYQHWZRUNVWRFKDUJH

       FUHGLW FDUGV IRU KXQGUHGV RI WKRXVDQGVRIGROODUVLQDVKRUWDPRXQWRIWLPH WKDWZHUH IRUFH

       SRVWHGXVLQJILFWLWLRXVDXWKRUL]DWLRQFRGHV)LVHUYSURYLGHGODZHQIRUFHPHQWZLWKUHFRUGVRI

       SKRQH FDOOV LQGLFDWLQJ WKDW LQGLYLGXDOV LGHQWLI\LQJ WKHPVHOYHV DV EHLQJ DVVRFLDWHG ZLWK WKH

       6XVSHFW 0HUFKDQWV FRQWDFWHG )LVHUY DQG UHFHLYHG SHUPLVVLRQ WR PDQXDOO\ EDWFK  WKH

       WUDQVDFWLRQVLQFRQWUDVWWREXONEDWFKLQJWUDQVDFWLRQVZLWKPHUFKDQWSURFHVVRUFRPSDQLHVRQFH

       D GD\ DV WKH PDMRULW\ RI PHUFKDQWV GR 7KLV UHVXOWHG LQ WKH IXQGV EHLQJ IRUFH SRVWHG  DQG

       LPPHGLDWHO\ GHSRVLWHG LQWR WKH DVVRFLDWHG EDQN DFFRXQWV DQG WKH PRQH\ IURP WKHVH

       WUDQVDFWLRQVZDVLPPHGLDWHO\ZLWKGUDZQIURPWKHGHSRVLWDFFRXQW

 7KHVHFRQGZD\WKHIUDXGZDVFDUULHG RXWZDVE\WDNLQJ DGYDQWDJHRIUHFHQWILQDQFLDOLQGXVWU\

       FKDQJHVWKDWKDYHPDGH UHIXQG WUDQVDFWLRQVLVVXHGWRFUHGLWGHELWFDUGVIURP326WHUPLQDOV

       LPPHGLDWHO\DYDLODEOHWRVSHQGEHIRUHEHLQJFRPSOHWHGE\WKHLVVXLQJPHUFKDQW ,QWKLVFDVH

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    FUHGLW IUDXG 7HPSRUDU\ UHIXQG FUHGLWV ZHUH SURFHVVHG IURP RQH VKHOO FRPSDQ\ PHUFKDQW

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    DSSURSULDWH IXQGLQJ WR FRPSOHWH WKH WUDQVDFWLRQV 7KLV XOWLPDWHO\ UHVXOWHG LQ D UHYHUVDO

    +RZHYHUWKHWHPSRUDU\IXQGVWKDWZHUHDYDLODEOHGXULQJWKHUHIXQGSURFHVVKDGDOUHDG\EHHQ

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    WUDQVDFWLRQV

 )LVHUYLQGLFDWHG WKDWWKH GHELWFDUGV XVHGZLWKWKHUHIXQGWUDQVDFWLRQV ZHUHQRWDVVRFLDWHGZLWK

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    WUDQVDFWLRQ DQG UHXVHG DQG ZHUH XOWLPDWHO\ QHYHU YHULILHG E\ WKH EDQNV 8OWLPDWHO\ WKLV

    PRYHPHQWRIUHIXQGV LQWKHIRUPRIFUHGLWV WKDWZHUHODWHUUHWXUQHGDVIUDXGXOHQWOHG)LVHUY

    WRVXIIHUORVVDVZHOODVWKHEDQNVLQYROYHG

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 %DVHGRQP\WUDLQLQJDQGH[SHULHQFH,NQRZWKDWIUDXGVWHUVRIWHQRSHUDWHPXOWLSOHEXVLQHVVHV

    RXWRIWKHVDPHDGGUHVVRURSHUDWHDVIURQWVRUFRYHUVWRJDUQHURUVROLFLWIUDXGXOHQWDFWLYLW\

       $ $O0DGLQD.DERE5HVWDXUDQW 0DGLQDD)RRGV//&

 )LVHUY UHFRUGV VKRZ WKDW $O 0DGLQD .DERE 5HVWDXUDQW LV WKH 'RLQJ %XVLQHVV $V '%$ 

    0DGLQDD )RRGV //& DQG LV DVVLJQHG 0HUFKDQW ,GHQWLILFDWLRQ 0,'   DW

    DGGUHVV:RRGODZQ'ULYH6XLWHV%DQG&*Z\QQ2DN0'$FFRUGLQJWR)LVHUYUHFRUGV

    LWLVUHJLVWHUHGWR0RKDQ0DQGDRI/RUHWWD/DQH+LFNVYLOOH1<,WLVDOVRDVVLJQHG0,'



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     ZLWK WKH DIRUHPHQWLRQHG LGHQWLILHUV 2SHQ VRXUFH UHVHDUFK DQG

    VXUYHLOODQFH FRQILUPV WKDW  :RRGODZQ 'ULYH 6XLWHV % DQG & *Z\QQ 2DN 0' LV

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    DQGVXUYHLOODQFHFRQILUPVWKDW%%47RQLWHLVWKHQDPHDGYHUWLVHGDWWKHSK\VLFDOORFDWLRQRQ

    VXLWHV%DQG&DW:RRGODZQ'ULYH*Z\QQ2DN0'DQGLWLVDNDEREUHVWDXUDQW

 3HU 6'$7 0DGLQDIRRGV //& ZDV LQFRUSRUDWHG RQ  DW  :RRGODZQ 'ULYH

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 %DVHGRQUHFRUGVIURP)LVHUYWKUHHPHUFKDQWDFFRXQWV DQG

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     IUDXGVWHUVRIWHQHVWDEOLVKPXOWLSOHEXVLQHVVDFFRXQWVDQGLGHQWLWLHVHYHQWKRVHZLWKVWDWH

     DJHQFLHVDQGJRYHUQPHQWUHJLVWULHVIRUWKHSXUSRVHRIFDUU\LQJRXWIUDXG

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     UHVWDXUDQW 7KHDJHQWV REVHUYHGPLQLPDOSDWURQDJHRIWKHHVWDEOLVKPHQWV RQHDFK

     VXUYHLOODQFHZLWKQRPRUHWKDQWHQSDWURQVRIWKHHVWDEOLVKPHQWDQGWKUHHWRILYHHPSOR\HHV

     REVHUYHGDWDQ\WLPHRIGD\RUGXULQJWKHZHHN7KHQDWXUHRIWKLV EXVLQHVVDVDVPDOO

     UHVWDXUDQW DQGUHJLVWHUHG//&V LVLQFRQVLVWHQWZLWKWKHPRYHPHQWRIPXOWLSOH9LVD UHIXQGV

     DPRXQWLQJWRWKRXVDQGVRIGROODUVDWDWLPHRYHUDSHULRGRIVHYHUDOGD\VIXUWKHULQGLFDWLQJ

     WKHIUDXGXOHQWQDWXUHRIWKLVDFWLYLW\

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 5HFRUGHG SKRQH FDOOV WR )LVHUY¶V FXVWRPHU VHUYLFH SKRQH QXPEHU RQ WKH GDWHV EHORZ IURP

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     SD\PHQWSURFHVVLQJV\VWHPV'KDOLZDOXWLOL]HGD&ORYHU326WHUPLQDOZKLOH0DQGDXWLOL]HG

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     ZLWKDQLQGLYLGXDOLGHQWLI\LQJWKHPVHOYHVYHUEDOO\DVHLWKHU0DQGDRU'KDOLZDOE\VWDWLQJWKHLU

     IXOOQDPHDQG0,'SHU)LVHUYUHTXLUHPHQWV

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     ³EDWFKHGRXW´ LPPHGLDWHO\DIWHUHDFKVWLQWRIIUDXGXOHQWDFWLYLW\SUHYHQWLQJWUDQVDFWLRQVIURP

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       WKHFDOOLQGLFDWHWKDWKHZDVZDONHGWKURXJKWKHSURFHVVDQGJDLQHGWKHDELOLW\WRPDQXDOO\

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 $FFRUGLQJWR)LVHUY'KDOLZDO DQG0DQGD¶VLQWHUHVWLQEHLQJDXWKRUL]HGWRPDQXDOO\EDWFKRXW

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       DOORZ IXQGVWREH GHSRVLWHGLQWRWKHEDQNDFFRXQWVDVVRFLDWHGZLWKWKHFDUGVFKDUJHG7KHJRDO

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       WKH SURFHVVRU RU EDQNV FRXOG GHWHUPLQH WKH\ ZHUH LOOHJLWLPDWH %DVHG RQ P\ WUDLQLQJ DQG

       H[SHULHQFH,EHOLHYHWKDW'KDOLZDODQG0DQGDZHUHDWWHPSWLQJWRHQVXUHWKH\FRXOGLQLWLDWH

       DQG FRPSOHWH IUDXGXOHQW WUDQVDFWLRQV LQ WKH VDPH GD\ GXH WR SUHYLRXV DWWHPSWV WR LVVXH

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 5HFRUGV IURP )LVHUY VKRZ WKDW GXULQJ WKH SHULRG RI 0D\  WR 6HSWHPEHU  ERWK

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       FDUGVDOORIZKLFKZHUHODWHUUHWXUQHGIRUIUDXG)LVHUY VXIIHUHGWKHEXONRIWKHORVV DVWKH

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       DIRUHPHQWLRQHG ORVV VXIIHUHG E\ WKH EDQNV  &KDUWV GHWDLOLQJ WKLV IUDXG DUH DWWDFKHG DV DQ

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GLVSXWHVDVEHLQJLQYDOLGRUIUDXGXOHQWOHDGLQJ)LVHUY RUWKHWKLUGSDUW\SURFHVVRUWRUHIXQGWKDWFDUGKROGHUDQGWKHQ
FRQWDFWWKHPHUFKDQWWRREWDLQWKHIXQGV7KHPHUFKDQWLQWKLVFDVH$O0DGLQD.DEREDOPRVWDOZD\VODFNHGWKH
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       UHWXUQHGDVIUDXGXOHQW$FFRUGLQJWR)LVHUYWKHUHIXQGVZHUH SURFHVVHGZLWKWKH$O0DGLQD

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       'KDOLZDO  ,Q HDFK FDVH WKH &ORYHUWHUPLQDOIRUWKLVPHUFKDQWZDVXVHGWRLVVXH³RSHQ´RU

       ³QDNHG´ UHIXQGV  WR D EDWFK RI FUHGLW FDUGV LQ FDUGSUHVHQW WUDQVDFWLRQV XVLQJ LQYDOLG

       DXWKRUL]DWLRQV 1RWDEO\ LQ HDFK FDVH WKH PHUFKDQW¶V FUHGHQWLDOV ZHUH XVHG WR EDWFK RXW RU

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       $)5,',IRUWKHLULQYROYHPHQWLQUHFHLYLQJWKHVHIUDXGXOHQWUHIXQGFUHGLWVDQGWUDQVIHUULQJ

       DQGZLWKGUDZLQJWKHIXQGVFDXVLQJDGGLWLRQDOORVVWR7'%DQNLQYLRODWLRQRI&RQVSLUDF\WR

       &RPPLW%DQN)UDXGLQYLRODWLRQRI86&




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  &DUGSUHVHQWWUDQVDFWLRQVDUHWKRVHWKDWLQYROYHWKHSK\VLFDOVZLSLQJRULQVHUWLQJRIDFKLSDVRSSRVHGWRPDQXDOO\
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    )LVHUYEXWDOVRLQYROYHGUHFHQWO\HVWDEOLVKHGEXVLQHVVHVDFURVV0DU\ODQG0LFKLJDQ1HZ

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    RYHUDSHULRGRIVHYHUDOGD\V EHWZHHQVHYHUDOUHFHQWO\IRUPHGEXVLQHVVHVVXVSLFLRXVDQG

    LQGLFDWLYHRISRWHQWLDOIUDXG

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    LOOHJLWLPDWHUHIXQGVZLWKGUHZPRVWRIWKHIXQGVDWFDVLQRVDQG$70VZURWHFKHFNVDQG

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    'HSDUWPHQWRIWKH7UHDVXU\'LYLVLRQRI5HYHQXHDQG(QWHUSULVH6HUYLFHV&HUWLILFDWHRI,QF

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    ,GHQWLILFDWLRQ1XPEHU ³(,1´ ILOLQJIRUPZDVDOVRLQFOXGHGVKRZLQJWKDW'RJDU/RJLVLWFV

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    FHOOSKRQH ZLWKDQLQGLYLGXDOLGHQWLILHGDV6XNKZLQGH6LQJK ZKRDJHQWVRIWKH8666DQG

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    FKHFNVDQGPDNHZLWKGUDZDOVRUFDVKDGYDQFHVIURPWKHVHDFFRXQWV$OORIWKLVDFWLYLW\WRRN

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    HDFKWULSWRDFDVLQRZKHUHDFDVKDGYDQFHZDVREWDLQHGLQYROYHGYHU\OLWWOHDFWXDOSOD\RI

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    $GGLWLRQDOO\VXUYHLOODQFHIRRWDJHREWDLQHGVKRZHG6,1*+DQG$)5,',FRPSOHWLQJWKHVH

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    WDEOH9LGHRIRRWDJH EHORZ VKRZV6,1*+HQWHULQJWKHFDVLQRZLWK$)5,',DQGWZRRWKHU

    XQLGHQWLILHGPDOHVWKHQHDFKSOD\LQJWDEOHJDPHVDVGHVFULEHGDERYHDQGPDNLQJ

    ZLWKGUDZDOVDWWKHFDVKFDJHV,QWKHVWLOOIURPWKH'HODZDUH3DUN&DVLQRHQWUDQFHEHORZ

    6,1*+FDQEHVHHQLQDJUD\MDFNHWQHDUWKHPDLQGRRUVZKLOH$)5,',LVRQWKHULJKWRI

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      6,1*+FDQEHVHHQLQDJUD\MDFNHWDQGJODVVHVLQWKHYHU\WRSRIWKHVWLOODWDURXOHWWH
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    DSSHDUDQFHDWWKHVDPHFDVLQRVDWWKHVDPHWLPHWRFRQGXFWQHDUO\LGHQWLFDOWUDQVDFWLRQV

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    FDUULHGRXWE\WKHRWKHUVXVSHFWPHUFKDQWVWKDWOHGWRORVVRQWKHSDUWRIDQHWZRUNRIEDQNV

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    WUDQVSRUWRIWKHIRUJRLQJGRFXPHQWVDQGLWHPV

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    ZLWKRWKHUDJHQWV,NQRZWKDWSHUSHWUDWRUVRIILQDQFLDOLQVWLWXWLRQIUDXGRIWHQPDLQWDLQ

    ILQDQFLDOUHFRUGVDQGILQDQFLDOLQVWUXPHQWVUHODWHGWRWKHLUIUDXGXOHQWDFWLYLW\DQGWKHSURILWV

    GHULYHGIURPWKRVHWUDQVDFWLRQVLQFOXGLQJEXWQRWOLPLWHGWRFXUUHQF\EDQNFKHFNVFDVKLHU¶V

    FKHFNV:HVWHUQ8QLRQUHFHLSWVPRQH\RUGHUVVWRFNVERQGVSUHFLRXVPHWDOVUHDOHVWDWH

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      DVVRFLDWHVLQWKHLUIUDXGXOHQWDFWLYLWLHVLQFOXGLQJEXWQRWOLPLWHGWRDGGUHVVERRNV

      WHOHSKRQHVFHOOSKRQHVL3DGV7DEOHWVRUSHUVRQDOGLJLWDODVVLVWDQWVZLWKVWRUHGWHOHSKRQH

      LQIRUPDWLRQQRWHVUHIOHFWLQJWHOHSKRQHQXPEHUVSKRWRJUDSKV WRLQFOXGHVWLOOSKRWRV

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      WKHLUUHVLGHQFHVDQGYHKLFOHVZKHUHWKH\PD\EHHDVLO\DFFHVVHGDQGNHSWVHFXUHO\

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      GRFXPHQWVLQFOXGLQJEXWQRWOLPLWHGWRWLFNHWVWUDQVSRUWDWLRQVFKHGXOHVSDVVSRUWVQRWHV

      DQGUHFHLSWVUHODWHGWRWUDYHODQGPRWHOKRWHOUHFHLSWVLQGLFLDRIRFFXSDQF\UHVLGHQF\DQGRU

      RZQHUVKLSRIWKHSUHPLVHVWREH VHDUFKHGDUHRIWHQSUHVHQWLQVXFKSUHPLVHV RUYHKLFOHV

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    WKRVHUHFRUGVZLOOEHVWRUHGRQWKDWFRPSXWHURUVWRUDJHPHGLXPIRUDWOHDVWWKHIROORZLQJ

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    VWRUDJHPHGLXPGHOHWHGRUYLHZHGYLDWKH,QWHUQHW(OHFWURQLFILOHVGRZQORDGHGWRDVWRUDJH

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    FDQEHUHFRYHUHGPRQWKVRU\HDUVODWHUXVLQJIRUHQVLFWRROV7KLVLVVREHFDXVHZKHQD

    SHUVRQ³GHOHWHV´DILOHRQDFRPSXWHUWKHGDWDFRQWDLQHGLQWKHILOHGRHVQRWDFWXDOO\

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    VSDFH²WKDWLVLQVSDFHRQWKHVWRUDJHPHGLXPWKDWLVQRWFXUUHQWO\EHLQJXVHGE\DQDFWLYH

    ILOH²IRUORQJSHULRGVRIWLPHEHIRUHWKH\DUHRYHUZULWWHQ,QDGGLWLRQDFRPSXWHU¶V

    RSHUDWLQJV\VWHPPD\DOVRNHHSDUHFRUGRIGHOHWHGGDWDLQD³VZDS´RU³UHFRYHU\´ILOH

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    LQWHUQDOKDUGGULYHV²FRQWDLQHOHFWURQLFHYLGHQFHRIKRZDFRPSXWHUKDVEHHQXVHGZKDWLW

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    WDNHWKHIRUPRIRSHUDWLQJV\VWHPFRQILJXUDWLRQVDUWLIDFWVIURPRSHUDWLQJV\VWHPRU

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    LVVRPHWLPHVSRVVLEOHWRPDNHDQLPDJHFRS\RIVWRUDJHPHGLD*HQHUDOO\VSHDNLQJLPDJLQJ

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    VHFWRUVDQGGHOHWHGILOHV(LWKHUVHL]XUHRULPDJLQJLVRIWHQQHFHVVDU\WRHQVXUHWKHDFFXUDF\

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    DUUD\RIFRPSXWHUKDUGZDUHDQGVRIWZDUHDYDLODEOHPDNHVLWGLIILFXOWWRNQRZEHIRUHDVHDUFK

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    LVVXHDUUHVWZDUUDQWV IRU'RJDU6,1*+DQG5HKDQ$)5,', DQGD VHDUFKZDUUDQWIRUWKH

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